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                            TENTH COURT OF APPEALS

Chief Justice
    Tom Gray

Justice
     Rex D. Davis
     Al Scoggins

                          McLennan County Courthouse
                         501 Washington Avenue, Rm 415
                            Waco, Texas 76701-1373
            Phone: (254) 757-5200              Fax: (254) 757-2822



                    Clerk
     Sharri Roessler
                                       
                               September 3, 2015
                                       


In accordance with the enclosed Memorandum Opinion, below is the judgment in the numbered cause set out herein to be entered in the Minutes of this Court as of the 3[rd] day of September, 2015.

10-14-00052-CV	LEE HOMES OF LIMESTONE COUNTY, INC., JAMES LEE, AND MARSHA LEE v. FIRST NATIONAL BANK, GROESBECK, TEXAS, BILL SADLER, AND BILL DAVID SADLER - ON APPEAL FROM THE 77[TH] DISTRICT COURT OF LIMESTONE COUNTY - TRIAL COURT NO. 30,051-A - AFFIRMED - Memorandum Opinion by Justice Scoggins:

"This cause came on to be heard on the transcript of the record, and the same being considered, because it is the opinion of this Court that there was no error in the judgment of the court below; it is therefore ordered, adjudged and decreed that the judgment of the court below be, and hereby is, affirmed.  It is further ordered that appellants pay all costs in this behalf expended, and that this decision be certified below for observance."
